           Case 4:20-cv-11272-IT Document 83 Filed 01/28/21 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 MICHAEL L. TAYLOR and PETER M.
 TAYLOR,
        Petitioners,

                v.
                                                          Case No. 4:20-cv-11272-IT
 JEROME P. MCDERMOTT, Sheriff, Norfolk
 County, Massachusetts, and JOHN
 GIBBONS, United States Marshal, District of
 Massachusetts,

        Respondents.


                                     NOTICE OF APPEAL

       Notice is hereby given that Michael and Peter Taylor, the Petitioners in the above-named

matter, hereby appeal to the United States Court of Appeals for the First Circuit from the Court’s

January 28, 2021 Orders denying Petitioners’ Motion to Amend the Habeas Petition (Dkt. 80) and

denying Petitioners’ Verified Second Emergency Petition for Habeas Corpus Pursuant to 28 U.S.C.

§ 2241 and Injunctive Relief (Dkt. 81) and all prior rulings.



Dated: January 28, 2021                              Respectfully submitted,

                                                     By their attorneys,

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Case 4:20-cv-11272-IT Document 83 Filed 01/28/21 Page 2 of 3




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                             2
           Case 4:20-cv-11272-IT Document 83 Filed 01/28/21 Page 3 of 3




                                 CERTIFICATE OF SERVICE

       I, Paul V. Kelly, counsel for Petitioners Michael and Peter Taylor, hereby certify that on

January 28, 2021, I served a copy of the foregoing on all registered parties by electronic filing on

ECF.

                                                             /s/ Paul V. Kelly
                                                             Paul V. Kelly




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